      Case 4:22-cv-00931 Document 14 Filed on 05/23/22 in TXSD Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                          )
                                                      )
                       Plaintiff,                     )
                                                      )       CIVIL ACTION
vs.                                                   )
                                                      )       Case No. 4:22-CV-00931
HARTMAN SPE, LLC,                                     )
                                                      )
                       Defendant.                     )


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff, ERIK GARCIA, and Defendant, HARTMAN SPE, LLC, by and through

undersigned counsel and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

hereby jointly stipulate to the voluntary dismissal of the entire action, with prejudice and that the

parties have agreed to entry of an order of Joint Stipulation of Dismissal with Prejudice. Each

party is to bear their own fees and costs.

      Respectfully submitted this 23rd day of May, 2022.

                                              Law Offices of
                                              THE SCHAPIRO LAW GROUP, P.L.

                                              /s/ Douglas S. Schapiro
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     Case 4:22-cv-00931 Document 14 Filed on 05/23/22 in TXSD Page 2 of 2




                                           /s/    Justin McGee______
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                                           Email: jmcgee@hi-reit.com



                              CERTIFICATE OF SERVICE


       WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically using the CM/ECF system on this 23rd day of May, 2022.


                                           s/ Douglas S. Schapiro
                                           Douglas S. Schapiro, Esq.
                                           Southern District of Texas ID No. 3182479
